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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:18-CV-03127-WJM-GPG

  Marty Stouffer and Marty Stouffer Productions, Ltd.;

         Plaintiffs,
   v.

  National Geographic Partners, LLC; NGSP, Inc.; NGHT, LLC, d/b/a National Geographic
  Digital Media; NGC Network US, LLC; and NGC Network International, LLC;

         Defendants.



                                    SCHEDULING ORDER

                              1. DATE OF CONFERENCE
                   AND APPEARANCES OF COUNSEL AND PRO SE PARTIES
  March 13, 2019 at 10:30 am MST

  Jeff Southerland and Alan Felts of Tuggle Duggins P.A., 100 N. Greene St., Ste. 600,

  Greensboro, NC 27401, 336-271-5251, on behalf of Plaintiffs Marty Stouffer and

  Marty Stouffer Productions, Ltd.

  Jason Rosenberg, Sam Gunn, and Mary Grace Gallagher of Alston & Bird LLP, 1201

  West Peachtree Street NW Ste. 4900, Atlanta, GA 30309, 404-881-7000 on behalf of

  Defendants National Geographic Partners, LLC, NGSP, Inc., NGHT, LLC, d/b/a

  National Geographic Digital Media, NGC Network US, LLC and NGC Network

  International, LLC (collectively, “NatGeo”).


                             2. STATEMENT OF JURISDICTION

        The Court has original subject matter jurisdiction over Plaintiffs’ Federal
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  Lanham Act Claims and Federal Copyright Act Claims pursuant to 15 U.S.C. § 1121

  and 28 U.S.C. §§ 1331, 1332, and 1338; and supplemental jurisdiction over

  Plaintiffs’ state law claims pursuant to 28 U.S.C. §§ 1338 and 1367.


                       3. STATEMENT OF CLAIMS AND DEFENSES

               a.     Plaintiffs:

        Plaintiffs assert that Defendants have infringed Plaintiffs’ registered

  trademark for the Wild America Mark and its copyright registration for certain

  episodes of Wild America. The Wild America Mark is used to indicate that Plaintiffs

  are the source of Wild America content. Defendants have infringed the Wild

  America Mark through the use of confusingly similar trademarks for programming

  such as America the Wild, Surviving Wild America, Untamed Americas (Wild

  America) and America’s Wild Frontier.

        Plaintiffs also assert that Defendants have engaged in unfair competition

  through their willful and knowing infringement of Plaintiffs’ trademark and the

  misappropriation of the goodwill associated with Plaintiffs’ brand, causing a

  likelihood of confusion for consumers as to the origin, affiliation, sponsorship or

  approval of Defendant’s infringing television programs.

        As a consequence of Defendants’ infringement and activities, Plaintiffs

  assert claims for Federal Trademark Infringement, Trademark Dilution, Federal

  Copyright Infringement, Federal Unfair Competition, and Unfair Competition under

  Colorado law.


                b.    Defendant(s):
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        NatGeo denies Plaintiffs’ factual allegations of wrongdoing, and denies that

  it is liable to Plaintiffs in any form or fashion. As discussed more fully in its

  pending Motion to Dismiss pursuant to Rule 12(b)(6), NatGeo contends the NatGeo

  program titles America the Wild, Untamed Americas, Surviving Wild America, and

  America’s Wild Frontier are protected expression under the First Amendment and

  therefore not subject to an infringement claim under the Lanham Act. Moreover,

  NatGeo denies that there is any likelihood of confusion between Plaintiffs’ Wild

  America program and mark, and any of the accused NatGeo programs or titles.

  NatGeo further denies that Plaintiffs’ own protectable rights in the asserted trade

  dress and copyright interests, and, even assuming Plaintiffs do own such rights,

  denies that NatGeo has infringed or misappropriated any of Plaintiffs’ rights in any

  manner whatsoever. In the event that Plaintiffs’ case is not dismissed in its

  entirety, NatGeo expects to assert a number of affirmative defenses, including

  waiver, acquiescence, estoppel, laches, and statutes of limitation.



                c.     Other Parties:

         Not Applicable.




                                    4. UNDISPUTED FACTS

         The following facts are undisputed:

     1. Marty Stouffer Productions, Ltd. owns a federal trademark registration for

        the mark WILD AMERICA (U.S. Reg. No. 2,194,557), in standard character

        form, for “entertainment services in the nature of a continuing television
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        series depicting animals and their habitat” in International Class 41.


                              5. COMPUTATION OF DAMAGES

         Plaintiffs’ Statement:

         Plaintiffs have suffered damage and injury to their business, reputation,

   and goodwill, and seek their actual damages/lost profits, compensatory damages

   not to exceed three times their actual damages and a disgorgement of

   Defendants’ profits, reasonable attorney’s fees and costs, and exemplary

   damages pursuant to Colo. Rev. Stat. § 13-21-102. Plaintiffs also seek injunctive

   relief pursuant to 15 U.S.C. § 1116. Plaintiffs assert that this case is an

   exceptional case pursuant to 15 U.S.C. § 1117. Plaintiffs intend to retain expert

   assistance in determining the amount by which they have been damaged as a

   result of Defendants’ conduct.

         Defendants’ Statement:

        NatGeo has not asserted a claim for damages but, in the event Plaintiffs’

  claims are not dismissed, will consider asserting a counterclaim based on

  Plaintiffs’ trademark and copyright misuse. In connection with its defenses,

  NatGeo seeks an award of attorneys’ fees and costs under 15 U.S.C. § 1117(a).

  NatGeo also requests a declaration that Defendant’s use of its program titles,

  America the Wild, Untamed Americas, Surviving Wild America, and America’s Wild

  Frontier do not infringe Plaintiff’s WILD AMERICA mark and that its above-listed

  television programs do not infringe any of Plaintiffs’ asserted trade dress or

  copyrights.
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                   6. REPORT OF PRECONFERENCE DISCOVERY AND
                         MEETING UNDER FED. R. CIV. P. 26(f)

         a.    Date of Rule 26(f) meeting.

        The Rule 26(f) conference occurred on January 31, 2019.

         b.    Names of each participant and party he/she represented.
        Jeffrey S. Southerland and Alan B. Felts of Tuggle Duggins P.A., 100 N.

        Greene St., Ste. 600, Greensboro, NC 27401, 336-271-5251, on behalf of

        Plaintiffs Marty Stouffer and Marty Stouffer Productions, Ltd.



        Jason Rosenberg and Mary Grace Gallagher of Alston & Bird LLP, 1201 West

        Peachtree Street NW, Atlanta, GA 30309, on behalf of Defendants National

        Geographic Partners, LLC, NGSP, Inc., NGHT, LLC, d/b/a National

        Geographic Digital Media, NGC Network US, LLC and NGC Network

        International, LLC



         c.    Statement as to when Rule 26(a)(1) disclosures were made or will be made.
        The parties will exchange their respective Rule 26(a)(1) disclosures by March

  6, 2019.

        NatGeo requested that the parties allow themselves until March 6, 2019 to

   make their initial disclosures, to which Plaintiffs agreed. NatGeo made its

   request because it determined at the outset of the case that much of the

   relevant information about the NatGeo programs at issue, and the individuals

   who NatGeo might use to support its defenses, would be difficult to locate, in
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   large part because many of the NatGeo programs were filmed many years ago,

   and many of those involved no longer work for NatGeo.


         d.    Proposed changes, if any, in timing or requirement of disclosures under Fed. R.
               Civ. P. 26(a)(1).

        As noted above, the parties will exchange their respective Rule 26(a)(1)

  disclosures by March 6, 2019. The parties do not have any changes to the

  requirements of disclosures under Rule 26(a)(1).


         e.    Statement concerning any agreements to conduct informal discovery:

        The parties have no such agreement at this time.


         f.    Statement concerning any other agreements or procedures to reduce discovery
               and other litigation costs, including the use of a unified exhibit numbering system.

         The parties will make reasonable, good faith efforts to reduce costs and to

         expedite the disposition of the case. If required to do so by the Court, the

         parties will use a unified numbering system.
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         g.     Statement as to whether the parties anticipate that their claims or defenses
                will involve extensive electronically stored information, or that a substantial
                amount of disclosure or discovery will involve information or records
                maintained in electronic form.
        The parties anticipate that there will be a fair amount of electronically

        stored information involved in this case. The parties agree to work

        together in good faith to develop an agreed upon ESI protocol.


         h.     Statement summarizing the parties’ discussions regarding the possibilities for
                promptly settling or resolving the case.

        The parties engaged in pre-suit discussions in an attempt to settle and

        resolve the case. The parties may be interested in further mediations or

        settlement conferences assisted by the Court after both sides have had

        the opportunity to take adequate discovery.


                                              7.
                                           CONSENT

          All parties □ [have]     X   [have not] consented to the exercise of jurisdiction
   of a magistrate judge.

                                        8. DISCOVERY
                                         LIMITATIONS

         a.     Modifications which any party proposes to the presumptive
                numbers of depositions or interrogatories contained in the Federal
                Rules.

        The parties propose 35 interrogatories per side.

        The parties propose fact witness depositions of 10 per side in addition

        to depositions of any experts retained in this case.
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         b.    Limitations which any party proposes on the length of depositions.

         The parties propose seven hours of recorded testimony per deposition.

         c.    Limitations which any party proposes on the number of requests for production
               and/or requests for admission.

         The parties propose no more than 50 requests for production and no

         more than 50 requests for admission per side.


                d.     Other Planning or Discovery Orders

        The parties will submit a proposed protective order for the protection of

        business sensitive and confidential information.


                                9. CASE PLAN AND SCHEDULE

         NatGeo has filed a Motion to Stay Discovery Pending the Determination of
  its Motion to Dismiss. If the Motion is granted, the Parties request that the Court
  allow them to submit a new proposed Case Schedule within seven (7) days of
  the Court’s order on the Motion to Dismiss.

                a.     Deadline for Joinder of Parties and Amendment of Pleadings:


                Proposed Date: April 26, 2019
                b.     Discovery Cut-off:
                Proposed Date: January 24, 2020.

                c.     Dispositive Motion Deadline:

                Proposed Date: April 10, 2020.

                d.     Expert Witness Disclosure

                       1.   The parties shall identify anticipated fields of expert testimony, if
                       any.

                Plaintiffs may endorse an expert in the field of liability as it relates
  to the field of trademark infringement and/or copyright infringement. Plaintiffs
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  may also endorse a damages expert related to their claims.

               Defendants expect to endorse an expert in the field of trademark
  infringement and/ or copyright infringement. Defendants also expect to engage
  an expert regarding the fame of the Wild America trademark. Finally, Defendants
  expect to endorse an expert in calculating the profits of television programs.

                         2.      Limitations which the parties propose on the use or
                         number of expert witnesses.
      The Court will allow five (5) retained experts per side inclusive of rebuttal experts.
                         3.      The parties shall designate all experts and provide
                         opposing counsel and any pro se parties with all information
                         specified in Fed. R. Civ. P. 26(a)(2) on or before:

                                 Proposed Deadline: September 6, 2019

                         4.      The parties shall designate all rebuttal experts and provide
                         opposing counsel and any pro se party with all information
                         specified in Fed. R. Civ. P. 26(a)(2) on or before :

                                 Proposed Deadline: November 15, 2019

                 e.      Identification of Persons to Be Deposed:

        Following the parties’ exchange of Rule 26(a)(1) disclosures on March 6,

  2019, the parties will be in a position to update the Court on the names of

  people likely to be deposed in this matter. The parties plan to depose any

  experts designated by the other party as well as any Rule 30(b)(6) witness(es)

  put forth by the parties. The parties are likely to depose further individuals

  identified in the course of discovery.


                 f.      Deadline for Interrogatories:

        The parties agree that all interrogatories must be served on the opposing

  party in advance of the close of discovery such that responding party has the

  time proscribed by the Federal Rules of Civil Procedure to respond.
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                g.     Deadline for Requests for Production of Documents and/or Admissions

         The parties agree that all Requests for Production of Documents and/or

   Admissions must be served on the opposing party in advance of the close of

   discovery such that responding party has the time prescribed by the Federal

   Rules of Civil Procedure to respond.


                         10. DATES FOR FURTHER CONFERENCES

                a.     Status conferences will be held in this case at the following dates
                and times:
                 12/9/2019 at 10 a.m. with USMJ Gallagher, telephone pre-approved.
                                                                                                .

                b.    A final pretrial conference will be held in this case on
                ____________at o’clock _____m. A Final Pretrial Order shall be
                prepared by the parties and submitted to the court no later than seven (7)
                days before the final pretrial conference.

                              11. OTHER SCHEDULING MATTERS

                a.    Identify those discovery or scheduling issues, if any, on which
                counsel after a good faith effort, were unable to reach an agreement.


                b.     Anticipated length of trial and whether trial is to the court or jury.


                One week trial to a jury.


                c.     Identify pretrial proceedings, if any, that the parties believe may be
                more efficiently or economically conducted in the District Court’s facilities at
                212 N. Wahsatch Street, Colorado Springs, Colorado 80903-3476; Wayne
                Aspinall U.S. Courthouse/Federal Building, 402 Rood Avenue, Grand
                Junction, Colorado 81501-2520; or the U.S. Courthouse/Federal
                Building,103 Sheppard Drive, Durango, Colorado 81303-3439.

               None.
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                             12. NOTICE TO COUNSEL AND PRO SE PARTIES

          The parties filing motions for extension of time or continuances must comply with
   D.C.COLO.LCivR 6.1(c) by submitting proof that a copy of the motion has been served
   upon the moving attorney's client, all attorneys of record, and all pro se parties.

           Counsel will be expected to be familiar and to comply with the Pretrial and Trial
   Procedures or Practice Standards established by the judicial officer presiding over the trial of
   this case.

           With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

         Counsel and unrepresented parties are reminded that any change of contact
   information must be reported and filed with the Court pursuant to the applicable local
   rule.

                              13. AMENDMENTS TO SCHEDULING ORDER

         This scheduling order may be altered or amended only upon a showing of
   good cause.

   DATED at Denver, Colorado, this 13 day of             March    , 20 19.

                                                         BY THE COURT:




                                                         United States Magistrate Judge
                                                          Gordon P. Gallagher

   APPROVED:

   /s/ Alan B. Felts                             /s/ Jason Rosenberg
   Alan B. Felts                                 Jason Rosenberg

   Tuggle Duggins, P.A. - 100 N. Greene St., Alston & Bird LLP-1201 West Peachtree Str. NW

   Ste. 600, Greensboro,NC 27401                 Atlanta, GA 30309

   336-271-5251                                  404-881-7461

   Attorney for Plaintiffs                       Attorney for Defendants
